
992 So.2d 965 (2008)
Belinda FORBES, Individually and as the Natural Tutrix and Administratrix of the Estate of Her Minor Child, Joshua Forbes
v.
Rodney COCKERHAM, State of Louisiana, Wayne Sonnier, Patterson Insurance Company, East Baton Rouge City-Parish Government and Dixie Electric Membership Corporation
George Forbes, Individually and as Parent and Administrator of His Minor Child, Joshua Forbes
v.
Wade Sonnier, Rodney Cockerham, State of Louisiana, Patterson Insurance Company, East Baton Rouge City-Parish Government and Dixie Electric Membership Corporation.
No. 2008-C-0762.
Supreme Court of Louisiana.
September 19, 2008.
*966 Granted. Consolidated with 2008-C-770.
